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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 X CORP.,                                       Court File No. 25-cv-1649 (LMP/DLM)

                      Plaintiff,

 vs.                                                      DEFENDANT’S MOTION
                                                          TO STAY PROCEEDINGS
 KEITH ELLISON, in his official capacity,
 as Attorney General of Minnesota,

                      Defendant.



TO:    The Administrator of the Above-Named Court; Plaintiff X Corp., through counsel
       Erick G. Kaardal, Mohrman, Kaardal & Erickson, P.A., 150 S. Fifth St., Ste. 3100,
       Minneapolis, MN, 55402; Joel Kurtzberg, Floyd Abrams, and Jason Rozbruch,
       Cahill Gordon & Reindell LLP, 32 Old Slip, New York, NY 10005.


       Defendant Keith Ellison moves the Court to stay the proceedings pending the Eighth

Circuit’s resolution of Kohls v. Ellison, Case No. 25-1300. This motion is made pursuant

to federal common law and Fed. R. Civ. P. 6(b), and is based upon the files, records, and

proceedings herein, including the memorandum of law filed and served with this motion.

Dated: June 3, 2025                       KEITH ELLISON
                                          Attorney General
                                          State of Minnesota

                                          s/ Janine Kimble
                                          PETER FARRELL (#0393071)
                                          Deputy Solicitor General
                                          JANINE KIMBLE (#0392032)
                                          MADELEINE DEMEULES (#0402648)
                                          IAN TAYLOR, JR. (#0401548)
                                          Assistant Attorneys General
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